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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          FORT MYERS DIVISION

JOSHUA GREENBERG,

            Plaintiff,

v.                                    Case No: 2:15-cv-42-FtM-29CM

STEPHEN FLEISCHER,

            Defendant.


                            OPINION AND ORDER

      This matter comes before the Court on review of the parties'

Stipulation for Entry of Judgment Confirming Arbitration Award

(Doc. #10) filed on February 27, 2015.           Plaintiff seeks to confirm

the August 13, 2014, the Arbitration Panel Award (Doc. #10-2, Exh.

2) expunging all references to Stephen Fleischer’s complaint from

Joshua Greenberg’s professional record maintained by the Central

Registration Depository.      Because the Complaint fails to set forth

a basis for subject matter jurisdiction, the stipulation is denied,

the Complaint is dismissed without prejudice, and plaintiff is

granted leave to file an amended complaint and motion.

      “Federal    courts    are     courts     of    limited      jurisdiction,

possessing    only   that   power     authorized       by     Constitution    and

statute.” Gunn v. Minton, 133 S. Ct. 1059, 1064 (2013) (quoting

Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377

(1994)).     Courts have “the obligation to inquire into subject

matter jurisdiction whenever it may be lacking.”               Baltin v. Alaron
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Trading Corp., 128 F.3d 1466, 1468 (11th Cir. 1997) (citations

omitted).    Federal courts are authorized to confirm arbitration

awards pursuant to the Federal Arbitration Act, which provides in

part:

            If the parties in their agreement have agreed
            that a judgment of the court shall be entered
            upon   the   award  made   pursuant   to   the
            arbitration, and shall specify the court, then
            at any time within one year after the award is
            made any party to the arbitration may apply to
            the court so specified for an order confirming
            the award, and thereupon the court must grant
            such an order unless the award is vacated,
            modified, or corrected as prescribed in
            sections 10 and 11 of this title. If no court
            is specified in the agreement of the parties,
            then such application may be made to the
            United States court in and for the district
            within which such award was made. Notice of
            the application shall be served upon the
            adverse party, and thereupon the court shall
            have jurisdiction of such party as though he
            had appeared generally in the proceeding. If
            the adverse party is a resident of the
            district within which the award was made, such
            service shall be made upon the adverse party
            or his attorney as prescribed by law for
            service of notice of motion in an action in
            the same court. If the adverse party shall be
            a nonresident, then the notice of the
            application shall be served by the marshal of
            any district within which the adverse party
            may be found in like manner as other process
            of the court.

9 U.S.C. § 9.     It is well established, however, that this is not

itself a grant of jurisdiction to federal courts.                      Rather, a

plaintiff   has   to   establish   an     independent        basis   for   federal

jurisdiction in order to seek confirmation of an arbitration award




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in federal court.        Hall St. Assocs., LLC v. Mattel, Inc., 552 U.S.

576, 581-82 (2008).

       The   Complaint       (Doc.    #1)    alleges          that      plaintiff    is    an

individual residing in the State of New York and defendant is an

individual residing in the State of Florida.                           (Doc. #1, ¶¶ 1-2.)

“In order to be a citizen of a State within the meaning of the

diversity statute, a natural person must both be a citizen of the

United States and be domiciled within the State.”                           Newman-Green,

Inc. v. Alfonzo-Larrain, 490 U.S. 826, 828 (1989).                                  Pleading

residency is not the equivalent of pleading domicile.                               Molinos

Valle Del Cibao, C. por A. v. Lama, 633 F.3d 1330, 1341 (11th Cir.

2011); Corporate Mgmt. Advisors, Inc. v. Artjen Complexus, Inc.,

561 F.3d 1294, 1297 (11th Cir. 2009); Taylor v. Appleton, 30 F.3d

1365, 1367 (11th Cir. 1994).             Where the parties reside is not a

jurisdictional allegation pursuant to 28 U.S.C. § 1332 because

diversity    jurisdiction        requires        allegations           of   domicile,     not

residency.       There    are    also       no    allegations          of   an   amount    in

controversy.

       Plaintiff alleges subject matter jurisdiction pursuant to 28

U.S.C. § 1331 because the case arises under the Federal Arbitration

Act.     (Id.,    ¶    3.)       As    noted      above,       however,      the     Federal

Arbitration      Act    cannot       serve       as     an   independent         basis    for

jurisdiction.         Because no other basis is set forth, the Court

finds that the Complaint (Doc. #1) must be dismissed without



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prejudice for lack of jurisdiction.        Plaintiff may file an Amended

Complaint if federal jurisdiction can be pled.                 The parties may

wish to consider whether the case is more properly filed in the

Fort Lauderdale Division of the Southern District of Florida as

the proper forum to seek confirmation.           See 9 U.S.C. § 9 (“If no

court is specified in the agreement of the parties, then such

application may be made to the United States court in and for the

district within which such award was made.”).

      Accordingly, it is hereby

      ORDERED:

      1. The Parties' Stipulation for Entry of Judgment Confirming

          Arbitration Award (Doc. #10) is DENIED.

      2. The Complaint (Doc. #1) is DISMISSED without prejudice for

          lack of subject-matter jurisdiction.              Plaintiff may file

          an Amended Complaint within FOURTEEN (14) DAYS of this

          Opinion and Order.     If no amended complaint is filed in

          this District within this time period, the Clerk shall

          close the file.

      DONE and ORDERED at Fort Myers, Florida, this                  10th     day

of March, 2015.




Copies:   Counsel of Record




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